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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

                                  Case No.: 9:16-cv-81798-DMM

   TTT Foods Holding Company LLC,
   a Florida limited liability company,

          Plaintiff,

   v.

   BEATRICE NAMM, an individual,
   JONATHAN NAMM, an individual, and
   DELUXE GOURMET SPECIALTIES LLC, a
   New Jersey limited liability company,

         Defendants.
   _____________________________________/

                    STATEMENT OF UNDISPUTED MATERIAL FACTS
                  IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT

         Pursuant to Local Rule 7.5, Plaintiff, TTT Foods Holding Company LLC (“TTT Foods”),
  hereby submits this statement of undisputed material facts in support of its motion for summary
  judgment.
         1.      Prior to December 2012, Beatrice Namm (“Mrs. Namm”) purchased and sold pasta
  and barbeque sauce and salsa to various retailers and distributors (the “Pasta Business”) through
  Deluxe Gourmet Specialties, LLC (“Deluxe”). Admitted in paragraph 2 of the Defendants’ Second
  Amended Answer, Affirmative Defenses [ECF No. 50] (the “Answer”). See also the deposition
  transcript of Mrs. Namm as the corporate representative of Deluxe attached hereto as EXHIBIT 1
  and hereafter referred to as “Deluxe Dep. Tr.” Deluxe Dep. Tr. at 18:10-19:6, and pages 5 through
  8 of Exhibit CR-1 to the Deluxe Dep. Tr.
         2.      Deluxe did business under the trade name “Bea’s Brooklyn’s Best.” See the
  introductory paragraph of the Asset Purchase Agreement attached hereto as EXHIBIT 2.
         3.      In December 2012, Mrs. Namm and the principals of TTT Foods entered into a
  transaction through which Deluxe transferred the Pasta Business to Bea’s Brooklyn’s Best, LLC,
  (the “Judgment Debtor”). Mrs. Namm became a 51% owner of the Judgment Debtor, and TTT

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  Foods became a 49% owner of the Judgment Debtor (the “Asset Sale”). The principals of TTT
  Foods paid $300,000 for TTT Foods’ 49% interest in The Judgment Debtor. See paragraphs 1, 4
  and 5 of the Asset Purchase Agreement.
         4.      All assets of Deluxe were transferred to the Judgment Debtor as part of the Asset
  Sale, including the product, recipe, customer accounts and lists, intellectual property and books
  and records. See Schedule 1 of the Asset Purchase Agreement.
         5.      In March 2015, the parties entered into a settlement (the “Settlement”) under which
  inter alia TTT Foods surrendered its 49% membership, and the Judgment Debtor agreed to pay
  TTT Foods $320,000.01, of which $150,000 would be paid in cash, and the remaining $170,000.01
  would be paid over time in the form of two promissory notes and security agreements (together,
  the “Notes”). Copies of the Notes and the Membership Interest Surrender Agreement are attached
  hereto as COMPOSITE EXHIBIT 3.
         6.      As part of the Settlement, TTT Foods, the Judgment Debtor, Mrs. Namm, Jeffrey
  Brandon and Eric Scholer exchanged Mutual Releases, discharging any and all claims that existed
  prior to March 27, 2015. Copies of Mrs. Namm and the Judgment Debtor’s Mutual Releases are
  attached hereto as COMPOSITE EXHIBIT 4.
         7.      A few months prior to the Settlement, on January 15, 2015, Mrs. Namm organized
  JMT Food Group, LLC (“JMT Food”) and listed herself as manager. The Articles of Organization
  are attached hereto as EXHIBIT 5.
         8.      Despite Deluxe’s sale of all of its assets to the Judgment Debtor on December 12,
  2012, Mrs. Namm opened checking account no. 6618 and savings account no. 8470 in the name
  of Deluxe with TD Bank on July 1, 2014. A copy of the account opening document is attached
  hereto as EXHIBIT 6.
         9.      Mrs. Namm testified that after the Asset Sale, no revenue from the sale of the
  Judgment Debtor’s product should be deposited into any Deluxe bank accounts and said revenue
  should be deposited into the Judgment Debtor’s bank account. Deluxe Dep. Tr. 55:2-56:11.
         10.     Mrs. Namm initially testified that no revenue from the sale of the Judgment
  Debtor’s product was deposited into a Deluxe bank account. Deluxe Dep. Tr. 56:6-11.         Later
  Mrs. Namm changed her testimony such that she began having revenue from the sale of the
  Judgment Debtor’s product deposited into a Deluxe bank account after the Judgment Debtor’s



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  bank account at Bank of America was garnished by TTT Foods in the spring of 2016. Deluxe
  Dep. Tr. 59:10-61:12; 112:2-15.
         11.     Deluxe’s TD Bank statements for account no. 6618 actually show $307,363.83 of
  deposits beginning February 24, 2015 and ending October 5, 2016. See Summary of Deposits into
  and Summary of Transfers from Deluxe’s TD Bank account no. 6618 attached hereto as
  COMPOSITE EXHIBIT 7    and the supporting bank records attached hereto as EXHIBIT 7A.
         12.       When questioned about said deposits, Mrs. Namm testified that she had said funds
  deposited into Deluxe’s bank account because of TTT Foods’ suit against the Judgment Debtor
  and her need to pay her personal mortgage. Deluxe Dep. Tr. 91:5-92:10.
         13.     On April 27, 2015, the Judgment Debtor defaulted on the payments due under the
  Notes. A copy of TTT Foods’ demand letter is attached hereto as EXHIBIT 8.
         14.     On June 3, 2015, TTT Foods sued the Judgment Debtor in Palm Beach County
  Circuit Court (the “State Court”) for breach of contract and foreclosure of security interest in
  personal property based upon said defaults under the Notes (the “State Court Suit”). A copy of
  the complaint is attached hereto as EXHIBIT 9.
         15.     On April 18, 2016, the State Court signed an Amended Agreed Final Summary
  Judgment in favor of TTT Foods and against the Judgment Debtor in the amount of $176,001.76,
  with an interest rate of 4.75% annum, a true and correct copy of which is attached hereto as
  EXHIBIT 10.
         16.     On April 18, 2016, the State Court also entered an Order Deferring Plaintiff’s
  Motion for Judgment on the Pleadings as Moot because the Judgment Debtor filed a Notice of
  Voluntary Dismissal of the Counterclaims, and ordered that execution and enforcement of the
  judgment is no longer stayed. A true and correct copy of such order is attached hereto as EXHIBIT
  11.
         17.     On May 16, 2016, the State Court entered a Final Judgment Awarding Attorney’s
  Fees and Costs (“Fees and Costs Judgment”) in favor of TTT Foods and against the Judgment
  Debtor in the total amount of $47,178.68, with an interest rate of 4.78% per annum. A true and
  correct copy of such order is attached hereto as EXHIBIT 12.
         18.     Based on the foregoing judgments (the “Judgments”), the Judgment Debtor is
  indebted to TTT Foods in the amount of $176,001.76, with an interest rate of 4.75% annum, and



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  $47,178.68, with an interest rate at 4.78% per annum (the “Indebtedness”). Admitted in paragraph
  2 of the Answer.
         19.       As of the date of the filing of the instant case, the Judgment Debtor had failed to
  pay any amount of the Indebtedness to TTT Foods. Admitted in paragraph 2 of the Answer.
         20.       On June 3, 2016, less than three weeks after the State Court entered the Fees and
  Costs Judgment, Mrs. Namm filed Articles of Dissolution regarding the Judgment Debtor with the
  Florida Department of State Division of Corporations (“Department of State”) that state that the
  “Company Out of Business[.]” A true and correct copy of the articles is attached hereto as
  EXHIBIT 13.
         21.       Counsel for Ms. Namm, Gus Benitez (“Mr. Benitez”), became the registered agent
  for the Judgment Debtor on or about May 3, 2016, and on June 6, 2016, filed his Statement of
  Resignation of Registered Agent for Limited Liability Company with the Department of State. A
  true and correct copy of such statement is attached hereto as EXHIBIT 14.
         22.       On June 13, 2016, Mrs. Namm filed a Dissociation or Resignation of Member,
  Manager From Florida or Foreign Limited Liability Company that states that Mrs. Namm
  withdrew/resigned as the Judgment Debtor’s member/manager on June 3, 2016. A true and correct
  copy of such document is attached hereto as EXHIBIT 15.
         23.       Despite the aforementioned filings in June of 2016, Mrs. Namm continued to sell
  the Judgment Debtor’s products, and had said revenue deposited into Deluxe’s TD Bank account
  6618. See Summary of Deposits of Deluxe’s TD Bank account no. 6618 attached hereto as
  COMPOSITE EXHIBIT 7      and the supporting bank records attached hereto as EXHIBIT 7A.
         24.       On September 16, 2015, Mrs. Namm opened TD Bank account No. 8586 in the
  name of JMT Food. A copy of the account opening document for said account is attached hereto
  as EXHIBIT 16.
         25.       Mrs. Namm has been the sole member of Deluxe and JMT Food since each was
  organized. Mrs. Namm Dep. Tr. at 9:9-11; 30:12-16; Deluxe Dep. Tr. 15:13-15.
         26.       Mrs. Namm has been the sole member of the Judgment Debtor since the Settlement.
  Deluxe Dep. Tr. 59:5-9.
         27.       Since the Settlement, Mrs. Namm was in charge of the Judgment Debtor, Deluxe
  and JMT Food’s day-to-day operations. Deluxe Dep. Tr. 149:8-15.



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         28.     The Judgment Debtor, Deluxe, and JMT Food operated out of the same location,
  85 Corona Court1, Old Bridge, New Jersey 08857, which is the Namms’ personal residence.
  Admitted in paragraph 2 of the Defendants’ Answer. See also JMT Food’s invoices to Adams
  Fairacre Farms attached hereto as EXHIBIT 17 and JMT Food’s Articles of Organization.2
         29.     The Judgment Debtor and Deluxe shared the same customers. Deluxe Dep. Tr. at
  33:15-25 and pages 9 and 10 of Exhibit CR-1 to the Deluxe Dep. Tr.
         30.     JMT Food also does business with many of the same customers as the Judgment
  Debtor and Deluxe, including Dean’s Natural Food Market, Aspen Marketplace, Garden of Eden,
  Primizia Foods and Adams Fairacre Farms. See Summary of Deposits and Summary of Transfers
  from JMT Food’s TD Bank account no. 8586 attached hereto as COMPOSITE EXHIBIT 18 and the
  supporting bank records attached hereto as EXHIBIT 18A.
         31.     The Judgment Debtor and Deluxe sell the same product, pasta and barbeque sauce
  and salsa. Deluxe Dep. Tr. at 22:5-10; 50:21-51:1.
         32.     Judgment Debtor and Deluxe used the same manufacturer and freight companies to
  ship their product. Deluxe Dep. Tr. at 24:19-24; 43:7-12.
         33.     Deluxe Gourmet and Judgment Debtor are the same company. Deluxe Dep. Tr. at
  94:24-95:2.
         34.     After the Settlement was documented on March 27, 2015, Judgment Debtor
  transferred $102,522.44 to or for the benefit of Mr. and Mrs. Namm. See Summary of Transfers
  from Judgment Debtor’s Bank of America account nos. 8796 and 4221 attached hereto as EXHIBIT
  19 and EXHIBIT 20, and the supporting bank records attached hereto as EXHIBIT 19A and EXHIBIT
  20A. See also the deposition transcript of Beatrice Namm is attached hereto as EXHIBIT 21 and
  hereinafter referred to as “Mrs. Namm’s Dep. Tr.” at 32:3-65:15
         35.     In fact, Mrs. Namm caused the Judgment Debtor to transfer $32,400 to Deluxe’s
  TD Bank account no. 6618 after the State Court Suit was filed, $1,600 on September 15, 2015,
  $4,000 on October 14, 2015, $5,300 on October 30, 2015, $6,000 on November 6, 2015, $1,500
  on December 1, 2015, $2,500 on January 8, 2016, $7,500 on February 16, 2016, $4,000 on March



  1
    The Namms testified that their personal address is actually 85 Corona Court not 85 Corona Street
  as alleged in the Amended Complaint.
  2
     According to JMT Food’s invoices issued to Adams Fairacre Farms, JMT Food is selling
  hummus products.
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  22, 2016. See Summary of Transfers from the Judgment Debtor’s Bank of America account no.
  8796 attached hereto as EXHIBIT 19.
         36.     However, Mrs. Namm swore that the Judgment Debtor had not sold or transferred
  any personal property in the last four years in response to interrogatory number 14 propounded on
  the Judgment Debtor in aid of execution. A copy of the Judgment Debtor’s responses to
  interrogatories is attached hereto as COMPOSITE EXHIBIT 22.
         37.     Jon Namm is the only person obligated on the Ocwen and Freedom Mortgage debts
  encumbering the Namms’ personal residence. Mrs. Namm Dep. Tr. at 37:13-23; Jon Namm Dep.
  Tr. at 8:21-9:12.
         38.     Jon Namm is the sole owner of the real property at 85 Corona Court, Old Bridge,
  New Jersey 08857. Jon Namm Dep. Tr. at 8:20-9:3. A copy of the deed reflecting Jon Namm’s
  ownership is attached hereto as EXHIBIT 23. The deposition transcript of Jon Namm is attached
  hereto as EXHIBIT 24 and hereafter referred to as “Jon Namm Dep. Tr.”
         39.      The transfers by the Judgment Debtor to Toyota and Progressive Insurance were
  for Jon Namm’s vehicle. Mrs. Namm Dep. Tr. at 37:3-12; 38:11-13.
         40.     Since March 31, 2015, Deluxe transferred $118,737.56 to or for the benefit of Mr.
  and Mrs. Namm. See Summary of Transfers from Deluxe’s TD Bank account no 6618 attached
  hereto as COMPOSITE EXHIBIT 7 and supporting bank records attached hereto as EXHIBIT 7A.
         41.     Since February 2, 2016, Deluxe transferred $11,365 to JMT Food. See Summary
  of Transfers from Deluxe’s TD Bank account no. 6618 attached hereto as COMPOSITE EXHIBIT 7.
         42.     Between March 9, 2016 and February 13, 2017, Mrs. Namm deposited several
  checks made out to Deluxe into the JMT Food TD Bank account no. 8586, which total $3,718.89.
  See Summary of Deposits into JMT Food’s TD Bank account 8586         EXHIBIT   18 and supporting
  bank records attached hereto as EXHIBIT 18A.
         43.      Mrs. Namm initially testified that the transfers from Deluxe to JMT Food may have
  been a loan. However, Mrs. Namm could not say whether there was a loan document evidencing
  said transactions. After being unable to answer what the terms of the loan were, Mrs. Namm
  conceded that she did not know why money was transferred from Deluxe to JMT Food. Mrs.
  Namm also testified that Deluxe received nothing in return for the transfers to JMT Food. Deluxe
  Dep. Tr. 129:19-130:16; 142:20-143:11.



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          44.     Since December 1, 2015, JMT Food transferred $21,988.08 to Mr. and Mrs. Namm.
  See Summary of Transfers from JMT Food’s TD Bank account no. 8586 attached hereto as
  COMPOSITE EXHIBIT     18 and supporting bank records attached hereto as   EXHIBIT   18A and Mrs.
  Namm Dep. Tr. 23:1-29:22.
          45.     Transfers to or for the benefit of Mr. and Mrs. Namm from March 31, 2015 through
  December 31, 2015 from Judgment Debtor, Deluxe and JMT Food total $120,075.32. See
  Summary of Transfers attached hereto as EXHIBIT 25.
          46.     Transfers to or for the benefit of Mr. and Mrs. Namm in 2016 from Judgment
  Debtor, Deluxe and JMT Food total $119,105.88. See Summary of Transfers attached hereto as
  EXHIBIT   26.
          47.     Jon Namm provided no consideration to Judgment Debtor, Deluxe or JMT in
  exchange for said transfers. Jon Namm Dep. Tr. at 12:6-13:10.
          48.     Money deposited into the Namms’ Bank of America joint checking account no.
  2389 and the TD Bank joint savings account no. 3496 by the Judgment Debtor, Deluxe and JMT
  benefitted Jon Namm. Said funds were used for family expenses. Jon Namm Dep. Tr. at 10:16-
  12:5.
          49.     The only explanation given by Mrs. Namm for the personal transfers by the
  Judgment Debtor, Deluxe and JMT Food was that said transfers were compensation for her
  personal services, and reflected on her tax returns. Deluxe Dep. Tr. at 91:23-92:21; 104:19-105:1;
  134:15-135:2; 147:7-25.
          50.     There is no evidence in the Judgment Debtor, Deluxe or JMT bank records showing
  that transfers to and for the benefit of Mr. and Mrs. Namm are for Mrs. Namm’s salary. Deluxe
  Dep. Tr. 108:22-109:9.
          51.     Since the Settlement, neither Judgment Debtor Deluxe nor JMT Food made regular
  weekly or bi-weekly payments made to Mrs. Namm as salary. See EXHIBIT 25 and 26.
          52.     The Namms’ personal 2015 tax return shows gross income of $47,846 and Mr.
  Namm testified that he makes about $40,000 per year working for the Daily News. The Namms’
  2015 personal tax return is attached to the Jon Namm Tr. as Exhibit JN -1. See EXHIBIT 24. See
  also Jon Namm Dep. Tr. at 13:11-14:24.




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         53.     Mr. Namm had no answer for why the money transferred by the Judgment Debtor,
  Deluxe and JMT to or for the benefit of the Namms was not reported on their joint tax return. Jon
  Namm Dep. Tr. at 14:21-14:24.
         54.     The Namms paid no self-employment tax for 2015 and did not attach Schedule SE
  to their 2015 personal return to report self-employment income. See line 57 on Bate #0004 of the
  Namms’ 2015 personal tax return.
         55.     Mrs. Namm’s interest in Deluxe does not appear on the Namms’ 2015 personal tax
  return. However, Mrs. Namm is listed as the sole proprietor of a retail source business. See Bate
  #0007 of the Namms’ 2015 personal tax return.
         56.     No wages are reported on line 26 of Schedule C for JMT Food or line 26 of
  Schedule C for the Retail Sources sole proprietorship. See Bate #0005 and Bate #0007 of the
  Namms’ 2015 personal tax return.
         57.     The Judgment Debtor was insolvent during the period of March 27, 2015 through
  June 30, 2016. The Expert Report of William G. King (“Mr. King”) is attached hereto as EXHIBIT
  27.
         58.     Mr. King reconstructed month end balance sheets for the Judgment Debtor utilizing
  the documents identified in Section III of his report and concluded that the Judgment Debtor’s
  assets never exceeded its liabilities. See Mr. King’s expert opinion in Section II of his report,
  along with the basis for said opinion set forth in Section IV and Exhibit A to the report.
         59.     Mrs. Namm reviewed Mr. King’s report and does not dispute any specific part of
  Mr. King’s report. Mrs. Namm Dep. Tr. at 71:18-72:15.
         60.     Mrs. Namm acknowledged that the TTT Foods’ debt has not been paid. Mrs.
  Namm Dep. Tr. at 73:17-74:8.
         61.     Mrs. Namm conceded that her Pasta Business was always behind in payments to
  its manufacturer, Kaltec. Deluxe Dep. Tr. at 112:21-113:2.




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                                CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that a true and correct copy of the foregoing was served via CM/ECF
  Notice of Electronic Filing on Gus R. Benitez, Esquire, counsel for the Defendants, 1223 East
  Concord Street, Orlando, Florida 32803 service@arbenitez.com; Gus@arbenitez.com, on April
  17, 2017.
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                                            By: /s/ John E. Page
                                                    John E. Page
                                                    Florida Bar No. 0860581
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